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- September 10, 2012

Via Facsimile to 267-299-5069

The Honorable Paul S. Diamond
United States District Court for the
Eastern District of Pennsylvania
6" Floor, Room 6613

601 Market Street

Philadelphia, PA 19106

Re: Bustin v. Abercrombie & Fitch Co.
Civil Action No. 10-1675

Dear Judge Diamond:
As Plaintiff has previously advised the Court, at the deposition of Matthew Smith,

questioning about his conversations during breaks with Abercrombie attorneys was the subject of

an attorney-client privilege objection as a result of a “Joint Defense Agreement” between
Abercrombie & Fitch and the Jeffries Family Office. See docket item 136, Exhibit “2”, pp. 67-

69.

Plaintiff has previously requested that the Court order production of the Joint Defense
Agreement. To date, the Court has declined Plaintiff's requests. However, in light of the _
foregoing exchange at Smith’s deposition, and the possible relevance of the Joint Defense
Agreement to the agency and “active involvement” issues currently before the Court (as well as
to Abercrombie’s right and ability to require Smith to appear in this district for deposition and
trial), I am compelled to renew my request that the Court order production of the Agreement.

Respectfully,

KOLMAN ELYEC.

By: by fy
Wayne g/Elys Esquire
WAE/If
Enclosures

ce: Lori A. Halber, Esquire (via facsimile to 215-399-2249)
Rick Grimaldi, Esquire (via facsimile to 215-399-2249)

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